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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                                                                                     February 25, 2022
                                                                                    Nathan Ochsner, Clerk
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

ANKUS, L.L.C.,                                      §
                                                    §
       Plaintiff,                                   §
                                                    §
v.                                                  §
                                                    §     CIVIL ACTION NO. 4:22-cv-00355
PHH MORTGAGE CORP. AND USAA                         §
FEDERAL SA VIN GS BANK,                             §
                                                    §
       Defendants.                                  §


                          ORD ER GRANTING UNOPPOSED MOTION


       The Court, having considered Defendant USAA Federa l Sav ings Ban k's (" Defendant")

Unopposed Motion to Enlarge Deadline to Answer or Otherw ise Respond to Amended Comp lai nt

("'Unopposed Mot ion"), finds that the Unopposed Motion should be, and hereby is, in all things,

GRANTED . It is therefore

       ORDERED, ADJUDGED, AND DECREED that Defendant ' s dead lin e to answer or

otherwise respond to Plaintiffs Fi rst Amended Petition and Appli cat ion for Temporary

Restraining Order (Doc.    o. 1-9) is Ap ril 25 , 2022.



SIGNED this   ~+', day of Feb ruary, 2022.


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ORD ER GRANT ING UNOPPOSED MOTIO '                                                  SOLO PAGE
